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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                         )
                                                 )
        v.                                       )   Criminal No. 1:23-CR-65
                                                 )
JAMES GORDON MEEK,                               )   Hon. Claude M. Hilton
                                                 )
                   Defendant.                    )   Sentencing: September 29, 2023


        POSITION OF THE UNITED STATES WITH RESPECT TO SENTENCING

        The defendant transported, distributed, received, and possessed child sexual abuse material

(CSAM), including images of infants and toddlers and content depicting sadistic and masochistic

abuse of prepubescent children. He sought out individuals and groups on the internet specifically

for facilitating this conduct. Moreover, the evidence makes clear that the defendant sought out

minors online for sexual purposes, including by posing as a minor himself.

        The applicable guidelines range has been correctly calculated in the Presentence

Investigation Report (PSR) as being between 151 to 188 months. The government recommends

that the Court impose a sentence of incarceration within the guidelines range.

                                        BACKGROUND

   I.        The defendant’s transportation, distribution, and receipt of CSAM

        The defendant met numerous individuals online for the purposes of exchanging child

pornography. For example, while on a trip to North and South Carolina in February 2020, the

defendant engaged with two different individuals using the Kik messaging app. Both conversations

started similarly—they exchanged basic information, and then the defendant got right to the point:

“Love kids?” ECF No. 89, PSR, ¶¶ 32, 35. Once he had established that everyone was there for



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the same reasons, the defendant would ramp up the conversation by sending images of his genitalia

and child erotica, as well as sharing his fantasies about raping infants, toddlers, and prepubescent

children. See id. ¶¶ 32, 35, 36. After receiving positive feedback, the defendant would then send

images of CSAM, including a video lasting over a minute depicting an erect penis penetrating the

anus of a female infant while the baby screams. Id. ¶¶ 18, 34, 36. The defendant also solicited and

received CSAM from both individuals. Id. ¶¶ 32, 35. The defendant transported all of these CSAM

images back to the Eastern District of Virginia when he returned home at the end of February 2020;

the images and chats remained on his phone at the time of the search more than two years later. Id.

¶¶ 20-21, 31.

         The defendant also distributed CSAM to members of a Telegram chat group called “Cocks,

Cunts, and Kids.” See PSR ¶ 45. Another member of the group had complained that the group was

not sharing videos and photos anymore. Id. ¶ 46. The defendant sought to remedy the problem,

sending at least one video, the visible frame of which depicted a young girl performing or about

to perform oral sex. Id. Law enforcement also located other evidence of the defendant using

Telegram to distribute images and videos depicting CSAM, including a still image from a video

that is a minute and a half in length from a series of child pornography images and videos known

to law enforcement. Id. ¶¶ 50-51.

   II.      The defendant’s online engagement with minors

         Forensic review of the defendant’s devices revealed that he also repeatedly engaged

directly with minors online, including sexually and while pretending to be a minor himself. For

example, law enforcement located chats between the defendant and Identified Minor 2 in which

the defendant used the minor’s affection for a particular public figure to induce Identified Minor 2




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to continue to engage with him. PSR ¶ 54. The defendant’s phone also contained at least a dozen

screenshots of images of Identified Minor 2 exposing her breasts and pubic area. Id. ¶¶ 55-56.

           The defendant also met minors online using a website called Omegle, which allows a user

to be randomly matched with others—including likely minors—for anonymous text and video

communications. Id. ¶ 59. The defendant’s phone contained screenshots of a chat between the

defendant and an individual identifying as 14 years old, and an individual identifying as 15 years

old whose naked breasts were exposed. Id. ¶ 60. In both chats, the defendant’s video shows him

naked and holding his penis in his hand. Id.

           The defendant’s devices contained additional screenshots indicating he engaged online

with minors directly. For example, the defendant appears to have posed as a minor female on

Instagram in order to persuade at least one other minor female to send him images of her breasts

and her genitals. Id. ¶ 63.

    III.      The defendant’s possession of additional CSAM

           The defendant also possessed numerous devices containing scores of CSAM images and

videos. See PSR ¶¶ 24, 65. This content included multiple images and videos depicting

prepubescent minors and minors under the age of 12, including such minors in sadistic and

masochistic situations. Id. ¶ 24. For example, one image depicted a nude prepubescent boy with a

strap around his face with a device forcing his mouth open; his hands are bound to his feet. The

boy is wearing a ‘Santa Claus’ style hat with a bow pictured around his waist above his penis. Id.

    IV.       Procedural History

           On March 30, 2023, a federal grand jury in the Eastern District of Virginia returned a three-

count Indictment charging the defendant with one count of transportation of child pornography, in

violation of 18 U.S.C. § 2252(a)(1) and (b)(1) (Count 1); one count of distribution of child



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pornography, in violation of 18 § 2252(a)(2) and (b)(1) (Count 2); and one count of possession of

child pornography, in violation of 18 U.S.C. § 2552(a)(4)(B) and (b)(2) (Count 3). PSR ¶ 1. On

July 21, 2023, the defendant pleaded guilty to Counts 1 and 3 of the Indictment.

                                  SENTENCING ANALYSIS

   I.      Statutory Penalties and Guidelines Calculations

        As this Court is aware, to determine the appropriate sentence, the Court must consult both

the Guidelines and the factors set forth in 18 U.S.C. § 3553(a). Here, the PSR correctly calculated

the total offense level for the defendant under the Guidelines as follows:

 Guideline(s)             Description                                               Offense Level
 2G2.2(a)(2)              Base offense level                                             22
                          Material involved a prepubescent minor or a minor
 2G2.2(b)(2)                                                                              2
                          who had not attained the age of 12 years
 2G2.2(b)(3)(F)           Defendant knowingly engaged in distribution                     2
                          Offense involves material that portrays sexual abuse
 2G2.2(b)(4)                                                                              4
                          or exploitation of an infant or toddler
                          Offense involved the use of a computer or an
                          interactive computer service for the possession,
 2G2.2(b)(6)                                                                              2
                          transmission, receipt, or distribution of the material,
                          or for accessing with intent to view the material
 2G2.2(b)(7)              Offense involved 600 or more images                             5

        The defendant has demonstrated acceptance of responsibility for the offense, and the

government therefore moves for an additional one-level decrease in the defendant’s offense level,

pursuant to Section 3E1.1(b), in addition to the two-level decrease for acceptance of responsibility

pursuant to Section 3E1.1(a). In accordance with the PSR and the Guidelines, the defendant’s total

offense level is thus properly calculated as a 34. The defendant’s criminal history category is

correctly calculated in the PSR at I. The Guidelines range applicable to the defendant’s offenses is

therefore 151 to 188 months.




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   II.        Section 3553(a) Factors

         After calculating the Guidelines range, a sentencing court must then consider that range,

as well as the sentencing factors set forth in 18 U.S.C. § 3553(a) and determine a sentence that is

appropriate and reasonable for the individual defendant. Nelson v. United States, 555 U.S. 350,

351 (2009). The United States that a sentence within the guidelines range of 151 to 188 months is

necessary and appropriate. As further discussed below, the defendant not only engaged in the

online trafficking of CSAM, but has a history and pattern of engaging and trying to engage in

sexual conduct and conversations with minors online.

         A.      The Nature, Circumstances, and Seriousness of the Offenses

         The defendant has pleaded guilty to trafficking in CSAM, seeking out other individuals on

the internet to build and share his CSAM collection. He was a member of a group called Cocks,

Cunts, and Kids, whose name makes very clear its purpose and casually callous treatment of

children. He clearly sought out individuals across the internet for the specific purpose of sharing

(and expanding) his CSAM collection for his sexual gratification. The files the defendant

possessed and shared consisted of images and videos of prepubescent children, including infants,

being forcibly raped and exploited for the sexual pleasure of adults on the internet. These young

victims of sexual exploitation often experience the most significant disruption to their

development, a fact that is amply demonstrated in the victims’ letters to the court.

         Trafficking in CSAM inflicts additional harm beyond even that of the original production.

As courts have regularly recognized, “[s]uch images are a permanent record of the children’s

participation and the harm to the child is exacerbated by their circulation’” United States v.

Burgess, 684 F.3d 445, 459 (4th Cir. 2012) (internal quotation marks omitted). These children,

“who must live with the knowledge that adults like [the defendant] can pull out a picture or watch



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a video that has recorded the abuse of [them] at any time,” “suffer a direct and primary emotional

harm when another person possesses, receives or distributes the material.” United States v.

Sherman, 268 F.3d 539, 547-48 (7th Cir. 2001).

        It is always highly traumatic for a child to suffer from sexual abuse at the hands of an adult.

But many victims of child pornography trafficking suffer even more, as there is no foreseeable end

to their victimization. Not only were they traumatized by the initial sexual abuse that was captured

on film, but they are also further victimized through the ongoing distribution and consumption of

depictions of their abuse. Once these images have been distributed over the internet, it is

impossible for them to be fully recovered. As one victim describes, because images of her sexual

abuse are available online, she has had to suffer twice: “the first time was being abused and the

second time is the ongoing anxiety due to the images of my abuse forever accessible.” PSR at 41.

She states that she fears being married and having children as a result of her abuse. Id. Every day

is filled with anxiety and discomfort, as “it’s impossible to cope and accept that I have to live with

the images of my abuse being available on the internet indefinitely. These images will live on the

internet longer than I will live.” Id.

        Another victim reports that her abuse—and its ongoing perpetration on the internet—has

affected every aspect of her life. She struggles to form romantic relationships and friendships, and

she suffers from PTSD, anxiety, and paranoia. Id. at 48. Her physical health has suffered along

with her mental health, and the two prevent her from working or attending school normally. Id. at

48-49. She has concluded her whole “future is messed-up and limited.” Id. at 49. There is no

portion of her life that has not been affected for the worse.

        A guidelines term of imprisonment is necessary to reflect the defendant’s very serious

criminal conduct.



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          B.      The Defendant’s Characteristics, Protection of the Public, and Deterrence

          The defendant’s conduct extends beyond the trafficking of CSAM to direct contact with

minors: He has a history and pattern of engaging and trying to engage in sexual conduct and

conversations with minors online. For example, law enforcement located a chat between the

defendant and Identified Minor 2 in which he manipulated her by offering access to the public

figure he knew she “love[d] most in the world.” Law enforcement found 11 images of this minor

on the defendant’s phone, including nude images with her breasts and pubic region exposed. In

other instances, the defendant concealed his identity while he engaged in online exploits with

random minors he sought out on the internet. He even posed as an adolescent girl himself, using

that persona to engage in sexual conversations with other young girls. He received pictures of an

apparent minor’s breasts and covered genitalia region, and responded that he thought “u were

gonna pose without the shorts lol.” PSR ¶ 63.

          Moreover, the defendant’s interests in CSAM are broad. The evidence reveals a man

interested in trading images depicting everything from the rape of infants, to the bondage and S&M

treatment of prepubescent boys, to the sexual exploitation of late adolescents. His conduct spans

multiple platforms and years. His devices contained conversations with minors on Snapchat,

Instagram, and Omegle, among others. The evidence spans numerous devices and nearly a decade

of time. A significant sentence of imprisonment is warranted to deter the defendant and others from

engaging in this conduct in the future.

   III.        Mandatory Special Assessments Under 18 U.S.C. §§ 2259A(a)(3), 3014 & 3013

          On December 7, 2018, Congress enacted the Amy, Vicky, and Andy Child Pornography

Victim Assistance Act. The Act instructs that, in addition to any restitution or other special

assessment, courts “shall assess (1) not more than $17,000 on any person convicted of an offense



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under §§ 2252(a)(4) or 2252A(a)(5); [and] (2) not more than $35,000 on any person convicted of

any other offense for trafficking in child pornography…” 18 U.S.C. §§ 2259A(a)(1) &

(a)(2). Assessments collected under this statute are deposited in the Child Pornography Victims

Reserve, which provides monetary assistance to victims of trafficking in child pornography, see

§§ 2259(d) & 2259B, and shall be paid in full after any special assessment under § 3013 and any

restitution to victims of the defendant’s offense, see § 2259A(d)(2). In determining the amount to

be assessed under § 2259A, courts should consider the sentencing factors set forth in § 3553(a)

and the guidance in § 3572 for the imposition of fines. § 2259A(c). The United States respectfully

requests that the Court impose a reasonable special assessment under § 2259A, in addition to the

$200 mandatory special assessment for his felony convictions pursuant to 18 U.S.C. § 3013.

         Additionally, under the Justice for Victims of Trafficking Act, courts “shall assess an

amount of $5,000 on any non-indigent person” convicted of certain enumerated offenses, including

transportation and possession of child pornography. The United States respectfully requests that

the Court impose the $10,000 special assessment ($5,000 per applicable count of conviction) on

the defendant. See 18 U.S.C. § 3014.

   IV.      Restitution

         Pursuant to 18 U.S.C. §§ 2259 and 3663, the defendant must pay restitution in the “full

amount of the victims’ losses.” Additionally, as part of the plea agreement entered into by the

parties, the defendant has agreed that restitution is mandatory under § 2259. The defendant has

also agreed that the Court may defer the imposition of restitution until after sentencing and to

waive the requirement under 18 U.S.C. § 3664(d)(5) that the Court determine a final restitution

amount no later than ninety days after sentencing. The parties respectfully request that this Court

set a restitution hearing within 90 days of the sentencing hearing.



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   V.      Forfeiture

        The United States submitted a consent order for forfeiture, signed by the defendant and his

counsel, during the plea agreement hearing. The government respectfully requests that the Court

order such forfeiture as part of the judgment.

                                         CONCLUSION

        For the reasons stated, the United States requests that this Court impose a guidelines term

of incarceration of 151 to 188 months.


                                                     Respectfully Submitted,
                                                     Jessica D. Aber
                                                     United States Attorney


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